 

Case: 3:18-cr-00395-JZ Doc #: 29 Filed: 05/09/19 1 of 2. PagelD #: 416

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OHIO

WESTERN DIVISION
United States of America, Case No. 3:18 CV 395
Plaintiff, ORDER
-VS- JUDGE JACK ZOUHARY
El’ Shawn Williams,
Defendant.

CERTLFICATION OF TRIAL EXHIBITS FOR JURY DELIBERATIONS

I have reviewed the trial exhibits to be presented to the Jury during the deliberations and find

that they are correct.

  
 
 
 

  

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Date: sl 4 { 4

 

Date: STF

 

 
 

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United States District Court
Norther District of Ohio
Exhibits Log: 18 CR 395

USA v..E Shawn Willams, 5/7/2019

 

_ Trak Williams Incident Report Part 2 Yes —

 

Trial 12

  
  
 

Trab-14 2

 

: " Triak-16 Anderson Use of Force Presentation_Redacted No

   

Triaf-18 incident Injury Report No

Tria 22 Photo of Cell

  

| Tral-23

 

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